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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS


Rodney Othel McIntosh (35074-044),                         )
                                                           )
                           Plaintiff,                      )             Case No. 19 C 50322
                                                           )             Appellate Case No. 21-1976
                  v.                                       )
                                                           )             Hon. Iain D. Johnston
United States of America, et al.,                          )
                                                           )
                           Defendants.                     )

                                                      ORDER

        Plaintiff’s application for leave to appeal in forma pauperis [139] is denied. The Court
certifies that the appeal is not taken in good faith and orders Plaintiff to pay the $505 appellate fee
within fourteen days or the Court of Appeals may dismiss his appeal for want of prosecution. The
Clerk of Court is directed to send a copy of this order to the PLRA Attorney, United States Court
of Appeals for the Seventh Circuit.

                                                  STATEMENT

        Plaintiff Rodney Othel McIntosh, a federal prisoner at USP, brings this pro se action under
the Federal Tort Claims Act. By order dated March 11, 2021, the magistrate judge denied
Plaintiff’s motion to compel. (Dkt. 90.) Plaintiff appeals from the March 11, 2021 order and seeks
leave to proceed in forma pauperis (IFP) on appeal. 1 (Dkts. 103, 139.) Plaintiff’s motion for leave
to appeal IFP (Dkt. 139) is denied.

        The Prison Litigation Reform Act (PLRA) requires all prisoners to pay the full filing fee
for their appeals. See 28 U.S.C. § 1915(b)(1). If the prisoner is not able to prepay the fee, he may
submit an application to proceed IFP to pay the fee with monthly deductions from his trust fund
account. A prisoner seeking leave to proceed IFP on appeal must obtain a certificate from an
authorized official stating the amount of money the prisoner has on deposit in his or her trust fund

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          On May 24, 2021, Plaintiff filed a notice of appeal regarding the magistrate judge’s March 11, 2021 order
denying his motion to compel. (Dkt. 90.) On May 25, 2021, the Seventh Circuit Court of Appeals instructed Plaintiff
to either pay the required $505 appellate fee or file a motion to proceed IFP on appeal (with the district court). (Dkt.
107.) Plaintiff did not pay the filing fee or submit an IFP, and the Seventh Circuit dismissed the appeal on August 19,
2021. (Dkt. 122.) Subsequently, Plaintiff erroneously filed a motion for leave to proceed IFP in the Court of Appeals,
and the Court of Appeals transferred the motion to this Court for a ruling. (Dkt. 138.) On December 23, 2021, the
Seventh Circuit, construing Plaintiff’s IFP motion as a motion to recall, vacated the August 19, 2021 dismissal of the
appeal and reinstated Plaintiff’s appeal. (Dkt. 140.)
                                                           1
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account. The prisoner also must “submit a certified copy of the trust fund account statement (or
institutional equivalent) for the prisoner for the 6-month period immediately preceding the filing
of the complaint or notice of appeal, obtained from the appropriate official of each prison at which
the prisoner is or was confined.” 28 U.S.C. § 1915(a)(2).

        Initially, Plaintiff’s IFP application is incomplete. Plaintiff has not used this Court’s
standard form, the application has not been certified by a prison official, and it does not include
trust fund information for the relevant six month period preceding the filing of the appeal. 2

         In any event, the Court finds that the appeal is not taken in good faith.

        Under the rules of the Seventh Circuit Court of Appeals, if the district court certifies that
an appeal is not taken in good faith, the appellant cannot prosecute the appeal IFP, but rather must
pay the appellate fees in full for the appeal to go forward. “‘Good faith’ within the meaning of §
1915(a)(3) is not about the plaintiff’s sincerity in requesting appellate review.” Eiler v. City of
Pana, No. 14-CV-3063, 2014 WL 11395155, at *1 (C.D. Ill. Nov. 1, 2014). Instead, “an appeal
taken in ‘good faith’ is an appeal that, objectively considered, raises non-frivolous colorable
issues.” Id. (collecting cases). “An appeal is frivolous when the result is obvious or when the
appellant’s argument is wholly without merit.” Smeigh v. Johns Manville, Inc., 643 F.3d 554, 565
(7th Cir. 2011) (citation and quotation marks omitted); Lee v. Clinton, 209 F.3d 1025, 1026 (7th
Cir. 2000) (“[T]o sue in bad faith means merely to sue on the basis of a frivolous claim, which is
to say a claim that no reasonable person could suppose to have any merit.”).

        Here, Plaintiff identifies his issues on appeal as: “[d]enial of discovery by collusion with
AUSA Jana L. Brady prison staff through U.S. Magistrate Lisa Jensen.” (Dkt. 139 at pg. 1.)
Plaintiff identifies no error with this Court’s March 11, 2021 discovery ruling, and his mere
disagreement with the ruling is not a basis for appeal. See, e.g., Walton v. Nat’l Integrated Group
Pension Plan, 587 Fed. App’x 328, 329 (7th Cir. 2014) (“Litigants who appeal an adverse
judgment must identify their disagreements with that decision.”).

        In addition, Plaintiff has appealed an interlocutory (in other words, non-final) order that
did not finally adjudicate his claims (and the case is still pending). See 28 U.S.C. § 1291 (“[t]he
courts of appeals . . . shall have jurisdiction of appeals from all final decisions of the district courts
of the United States”) (emphasis added); see also Massey Ferguson Div. of Varity Corp. v. Gurley,
51 F.3d 102, 105 (7th Cir. 1995) (“Not until all of the elements of a case have been wrapped up is
there a final judgment[.]”) (emphasis in original). Moreover, the Court finds no basis for an
interlocutory appeal. See 28 U.S.C. § 1292(b) (a district court may state in an order that an appeal
should be taken from an interlocutory order if the court is “of the opinion that such order involves

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         As noted above, Plaintiff’s notice of appeal was filed on March 11, 2021, and thus Plaintiff’s IFP application
should include certified trust fund information for the six month period preceding that date (or, from about September
11, 2020 to March 11, 2021). Instead, Plaintiff has attached trust fund information covering a period from May 15,
2021 to December 8, 2021. (Dkt. 139 at pgs. 7-8.)
                                                          2
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a controlling question of law as to which there is substantial ground for difference of opinion and
that an immediate appeal from the order may materially advance the ultimate termination of the
litigation”).

       Accordingly, the Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that the appeal is not
in good faith and that no appeal should be taken.

        Plaintiff must therefore pay the full $505 filing fee within fourteen days of the date of this
order or the Court of Appeals may dismiss his appeal for want of prosecution. See Evans v. Ill.
Dep't of Corr., 150 F.3d 810, 812 (7th Cir. 1998). Payment shall be sent to the Clerk, United States
District Court, 219 South Dearborn Street, Chicago, Illinois 60604, attn: Cashier’s Desk, 20th
Floor. Payment should clearly identify the name of the party to whom the payment applies, as well
as the district court and appellate court case numbers assigned to this action. If Plaintiff wishes to
contest this Court’s finding that his appeal is not taken in good faith, he must file a motion with
the United States Court of Appeals for the Seventh Circuit seeking review of this Court’s
certification, within thirty days of entry of this order. Fed. R. App. P. 24(a)(5).



Date: January 10, 2022                 By:     _______ __________________________________
                                               Iain D. Johnston
                                               United States District Judge




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